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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    FEDERAL LAW ENFORCEMENT
    OFFICERS ASSOCIATION,
         Plaintiff
         v.                                                Civil Action No. 19-735 (CKK)
    DALE CABANISS1, Director, United States
    Office of Personnel Management, et al.,
           Defendants




                                  MEMORANDUM OPINION
                                     (November 4, 2019)


         This case concerns the 2016 decision of Defendants, the Director of the United States

Office of Personnel Management and the United State Office of Personnel Management

(“OPM”), to implement a policy which resulted in the reduction of supplemental annuity

payments for many retired law enforcement officers who are divorced. Plaintiff, the Federal Law

Enforcement Officers Association (“FLEOA”), represents 27,000 current and retired federal law

enforcement officers and challenges the 2016 supplemental annuity payment policy under the

Administrative Procedure Act (“APA”). In Count 1, Plaintiff contends that the policy is arbitrary

and capricious; in Count 2, Plaintiff claims that Defendants failed to engage in the proper

rulemaking procedures under the APA; and, in Count 3, Plaintiff alleges that Defendants acted in

excess of congressional authority by making the policy retroactive. Defendants move for

dismissal on two jurisdictional grounds. First, Defendants argue that Plaintiff’s APA claims are




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 Pursuant to Fed. R. Civ. P. 25(d), Dale Cabaniss is substituted in his official capacity as the
Director of the United States Office of Personnel Management.

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precluded by the Civil Service Reform Act (“CSRA”). Second, Defendants contend that Plaintiff

lacks standing to bring its claims.

        Upon consideration of the pleadings 2, the relevant legal authorities, and the record as a

whole, the Court DENIES WITHOUT PREJUDICE Defendants’ motion. Prior to deciding

Defendants’ jurisdictional arguments, the Court first must determine whether or not Defendants’

2016 supplemental annuity payment policy constitutes a “rule” which could be subject to pre-

enforcement rulemaking review under the APA. And, while the parties provided fulsome briefing

as to their jurisdictional and standing arguments, the parties did not provide adequate briefing as

to this specific issue.

        Specifically, the parties should provide details about the nature of the 2016 supplemental

annuity payment policy, such as whether or not Defendants captured the new policy in writing in

any way. The Court further requires additional briefing as to whether or not Defendants were

permitted to re-interpret their obligations pursuant to the statute without engaging in a

rulemaking process. The parties should explain what indicia signal whether the 2016

supplemental annuity payment policy is the type of statutory re-interpretation that does or does

not require a rulemaking process. Additionally, insofar as Plaintiff contends that the 2016

supplemental annuity payment policy should be treated as a rule despite the lack of a rulemaking


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 The Court’s consideration has focused on the following documents:
    • Defs.’ Mot. to Dismiss (“Def.’s Mot.”), ECF No. 12;
    • Pl.’s Mem. of Points and Authorities in Opp’n to Defs.’ Mot. to Dismiss (“Pl.’s Opp’n”),
        ECF No. 14;
    • Defs.’ Mem. in Reply to Pl.’s Opp’n to Defs.’ Mot. to Dismiss (“Def.’s Reply”), ECF No.
        18;
    • Pl.’s Surreply in Opp’n to Defs.’ Mot. to Dismiss (“Pl.’s Surreply”), ECF No. 21; and
    • Defs.’ Mem. in Res. to Pl.’s Surreply (“Defs.’ Res. to Pl.’s Surreply”), ECF No. 23.
In an exercise of its discretion, the Court finds that holding oral argument in this action would
not be of assistance in rendering a decision. See LCvR 7(f).

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process, Plaintiff should cite cases in which courts have agreed to treat statutory reinterpretations

as rules.

                                        I. BACKGROUND

        Pursuant to the Federal Employees Retirement System (“FERS”), federal government

civilian employees may receive retirement benefits, such as annuities and Social Security.

Compl., ECF No. 1, ¶ 6. Federal civilian employees who reach retirement age with the required

number of service years are entitled to an annuity. Id. at ¶ 7. Certain employees, such as law

enforcement officers, are eligible to retire at a younger age with fewer service years. Id. at ¶ 8.

These employees are entitled to a supplemental annuity payment which substitutes for Social

Security until the retiree reaches the minimum age to qualify for Social Security. Id.

        According to Plaintiff, supplemental annuity payments are to “be treated in the same

way” as basic annuity payments. Id. at ¶ 12 (quoting 5 U.S.C. § 8421(c)). Basic annuity

payments can be paid to a person other than the retiree “if and to the extent provided for in the

terms of [] any court decree of divorce, annulment, or legal separation, or the terms of any court

order or court-approved property settlement agreement incident to any court decree of divorce,

annulment, or legal separation.” Id. at ¶ 9 (quoting 5 U.S.C. § 8467(a)(1)). In interpreting court

orders, Defendants “perform[] purely ministerial actions,” “must honor the clear instructions of

the court,” and “will not supply missing provisions, interpret ambiguous language, or clarify the

court’s intent by researching individual State laws.” Id. at ¶ 10 (quoting 5 C.F.R. §

838.101(a)(2)).

        Plaintiff claims that from the implementation of FERS until 2016, Defendants did not

include supplemental annuity payments in the calculation of basic annuity payments to a retiree’s

former spouse pursuant to a court order unless that court order expressly called for the division


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of the supplemental annuity payment. Id. at ¶ 13. However, in July 2016, Defendants began

apportioning supplemental annuity payments to former spouses of retirees where there was a

court-ordered division of basic annuity benefits, even if the court order did not expressly call for

the division of supplemental annuity payments. Id. at ¶ 15. Plaintiff contends that this change

was spurred by Defendants’ determination that 5 U.S.C. § 8421(c) required that supplemental

annuity payments be apportioned to a former spouse whenever a court order required the

apportionment of basic annuity payments. Id. at ¶ 16; 5 U.S.C. § 8421(c) (requiring that

supplemental annuity payments “be treated in the same way” as basic annuity payments).

       Also in July 2016, Plaintiff contends that Defendants calculated the supplemental annuity

payment amounts that would have been due to the affected retirees’ former spouses had the

policy been in effect from the date of their retirement or the date of the court order dividing basic

annuity benefits. Id. at ¶ 17. Defendants notified the affected retirees of these amounts and began

deducting the amounts owed in monthly installments from the annuity payments. Id. at ¶¶ 18-19.

       Based on the 2016 supplemental annuity payment policy, Plaintiff brings three APA

claims. In Count 1, Plaintiff alleges that the policy is arbitrary and capricious because federal

employee retirement benefits can be paid to another person only if expressly provided and the

new policy pays supplemental annuity payments to former spouses of retirees even if there is no

court order expressly providing for the apportionment of supplemental annuity payments. Id. at

¶¶ 27-32. In Count 2, Plaintiff contends that the policy constitutes agency action taken without

observance of procedures required under the APA. Id. at ¶¶ 33-39. Specifically, Plaintiff alleges

that Defendants’ “reinterpretation” of FERS is a legislative rule for which Defendants failed to

engage in proper rulemaking such as notice-and-comment procedures. Id. Plaintiff highlights that

the Inspector General for OPM determined that the 2016 supplemental annuity payment policy



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constituted a rule within the meaning of the APA which can only be implemented through notice-

and-comment rulemaking. Id. at ¶ 24. In Count 3, Plaintiff contends that Defendants acted in

excess of congressional authority by improperly engaging in retroactive rulemaking. Id. at ¶¶ 40-

44.

       In their Motion to Dismiss, Defendants argue that each of Plaintiff’s Counts should be

dismissed because the CSRA precludes Plaintiff’s claims and because Plaintiff lacks standing. As

will be further explained below, prior to resolving these jurisdictional issues, the Court requires

additional briefing as to the nature of the 2016 supplemental annuity payment policy and how the

Court should decide whether or not the policy should be subject to pre-enforcement rulemaking

review under the APA.

                                     II. LEGAL STANDARD

       Defendants move to dismiss Plaintiff’s Complaint under Federal Rule of Civil Procedure

12(b)(1) for lack of jurisdiction. A court must dismiss a case when it lacks subject matter

jurisdiction. See Fed. R. Civ. P. 12(h)(3). In doing so, the Court may “consider the complaint

supplemented by undisputed facts evidenced in the record, or the complaint supplemented by

undisputed facts plus the court’s resolution of disputed facts.” Coal. for Underground Expansion

v. Mineta, 333 F.3d 193, 198 (D.C. Cir. 2003) (internal quotation marks omitted)); See also

Jerome Stevens Pharm., Inc. v. Food & Drug Admin., 402 F.3d 1249, 1253 (D.C. Cir. 2005)

(“[T]he district court may consider materials outside the pleadings in deciding whether to grant a

motion to dismiss for lack of jurisdiction.”).

       “At the motion to dismiss stage, counseled complaints, as well as pro se complaints, are

to be construed with sufficient liberality to afford all possible inferences favorable to the pleader

on allegations of fact.” Settles v. U.S. Parole Comm'n, 429 F.3d 1098, 1106 (D.C. Cir. 2005).


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Despite the favorable inferences that a plaintiff receives on a motion to dismiss, it remains the

plaintiff's burden to prove subject matter jurisdiction by a preponderance of the evidence. Am.

Farm Bureau v. Envtl. Prot. Agency, 121 F. Supp. 2d 84, 90 (D.D.C. 2000).

                                        III. DISCUSSION

       Defendants present two jurisdictional grounds for dismissing Plaintiff’s Complaint. First,

Defendants contend that APA review of the 2016 supplemental annuity payment policy is

precluded by the CSRA. Second, Defendants argue that Plaintiff lacks standing to bring claims in

this Court. For the reasons explained below, the resolution of both of these arguments likely turns

on whether or not the 2016 supplemental annuity payment policy required Defendants to engage

in a rulemaking process and whether or not the Court should treat the policy as a rule under the

APA.

       In its Complaint, Plaintiff states that “Defendants’ interpretation of FERS is an agency

statement of particular applicability and future effect designed to implement law, and thus

constitutes a rule within the meaning of” the APA. Compl., ECF No. 1, ¶ 34. Plaintiff goes on to

explain that “Defendants’ rule is a legislative rule that has the force and effect of law” and “[b]y

formulating this rule, Defendants therefore engaged in rulemaking within the meaning of” the

APA. Id. at ¶¶ 35-36. In its Opposition to Defendants’ Motion, Plaintiff contends that because the

2016 supplemental annuity payment policy has been in effect for nearly three years and the OPM

has indicated that it will not revisit the issue, the policy “must be deemed ‘final’ agency action

for purposes of APA review.” Pl.’s Opp’n, ECF No. 14, 11 (quoting OCONUS DOD Employee

Rotation Action Group v. Cohen, 144 F. Supp. 2d 1, 6 (D.D.C. 2000) (finding that a pre-

enforcement challenge to a draft agency policy was available under the APA and not precluded

by the CSRA)).


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       Defendants dispute that the 2016 supplemental annuity payment policy is a rule for

purposes of the APA. Instead, Defendants contend that, prior to 2016, they “failed to apply the

plain language of a statute, which was unambiguous, as Congress intended. OPM made a

correction, as it was obligated to do, resulting in the appropriate application of law.” Defs.’ Mot.,

ECF No. 12, 9. Defendants explain that “OPM has not engaged in rulemaking nor adopted some

new ‘interpretation’ of the language in the statute.” Id. at 10. Specifically, Defendants highlight

that no administrative proceeding took place in developing or implementing the 2016

supplemental annuity payment policy.

       While the parties’ disagreement on this matter is patent, the parties failed to adequately

and fully brief the issue as to the nature of the 2016 supplemental annuity payment policy and

how the Court should decide whether or not the policy should be subject to pre-enforcement

rulemaking review under the APA. And, the Court concludes that this issue is too consequential

to the ultimate resolution of Defendants’ jurisdictional arguments to rely on cursory arguments

and briefing.

       To explain why this issue is significant and to guide the parties in potential future

briefing, the Court will provide a brief description of preclusion under the CSRA. The CSRA

“cover[s] the field of federal employee claims.” Filebark v. U.S. Dep’t of Transportation, 555

F.3d 1009, 1014 (D.C. Cir. 2009). Pursuant to the CSRA, actions affecting federal employees are

first reviewed by the OPM. 5 U.S.C. § 8347(a)-(c). Next, the United States Merit Systems

Protection Board (“MSPB”) reviews the “administrative action or order affecting the rights or

interests of” the federal employee. 5 U.S.C. § 8461(d)(1). Following review by the MSPB,

judicial review is exclusive to the Federal Circuit. 5 U.S.C. § 7703(b)(1). Under the CSRA,

“[r]eview by OPM/MSPB/Federal Circuit is the exclusive remedy for claims regarding



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retirement benefits of federal workers.” Eisenbeiser v. Chertoff, 448 F. Supp. 2d 106, 111-112

(D.D.C. 2006).

       Because the CSRA offers a comprehensive remedial scheme for disputes as to retirement

benefits, Defendants argue that the CSRA precludes review of Plaintiff’s APA claims. An

administrative action is reviewable under the APA only if “there is no other adequate remedy in a

court.” 5 U.S.C. § 704. The APA “does not provide additional judicial remedies in situations

where Congress has provided special and adequate review procedures.” Bowen v. Massachusetts,

487 U.S. 879, 903 (1988) (internal quotation marks omitted); 5 U.S.C. § 701(a)(1) (explaining

that the APA does not apply “to the extent that [other] statutes preclude judicial review”). The

APA does not provide jurisdiction for claims for which an adequate remedy is otherwise

available or for claims seeking relief expressly limited by another statute. Fornaro v. James, 416

F.3d 63, 66 (D.C. Cir. 2005). Where Congress has provided a separate statutory scheme with

remedies for a plaintiff’s claims, an APA claim is properly dismissed. Id.

       However, Defendants acknowledge that there is an exception to the CSRA’s preclusion

of APA claims whereby a district court can conduct pre-enforcement review of OPM rulemaking.

       ‘The APA has often been found to provide jurisdiction for a federal court to hear union
       challenges to agency regulations or policies of general application on the grounds that
       they were inconsistent with a statute or the Constitution.’ NTEU v. Chertoff, 385
       F. Supp. 2d 1, 23 (D.D.C. 2005), partially reversed on other grounds, 452 F.3d 839
       (D.C. Cir. 2006) (citing NTEU v. Horner, 854 F.2d 490 (D.C. Cir. 1988) (reviewing under
       the APA whether an OPM rule exempting positions from competitive service was
       ‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law’)).
       In NTEU v. Cornelius, 617 F. Supp. 365 (D.D.C. 1985), the court noted that even though
       aggrieved federal employees are required to bring cases involving individual rights in
       accordance with the CSRA, the CSRA does not ‘insulate OPM from direct judicial
       review of challenges to rulemaking under the APA’ and the court had jurisdiction over an
       APA challenge to the promulgation of a final rule governing appeal procedures of certain
       adverse employment actions.




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Defs.’ Mot., ECF No. 12, 10-11 (quoting Nat’l Treasury Employees Union v. Whipple, 636 F.

Supp. 2d 63, 70 (D.D.C. 2009)).

       The United States Court of Appeals for the District of Columbia Circuit (“D.C. Circuit”)

has repeatedly reaffirmed that pre-enforcement challenges to OPM rulemaking under the APA

are not barred by the CSRA. As the D.C. Circuit has explained, the argument that challenges to

rulemaking under the APA are barred by the CSRA is “meritless.” Nat’l Treasury Employees

Union v. Devine, 733 F.2d 114, 117 n.8 (D.C. Cir. 1984). “It is one thing to say that when a

statute provides a detailed scheme of administrative protection for defined employment rights,

less significant employment rights of the same sort are implicitly excluded and cannot form the

basis for relief directly through the courts.” Id. However, “[i]t is quite different to suggest … that

a detailed scheme of administrative adjudication impliedly precludes preenforcement judicial

review of rules.” Id.; see also Nat’l Treasury Employees Union v. Egger, 783 F.2d 1114, 1117

(D.C. Cir. 1986) (explaining that the court did not “ignore or disparage” the ruling that the CSRA

does “not apply to pre-enforcement judicial review of rules”). Additionally, other district courts

within this Circuit have found that the CSRA does not preclude jurisdiction under the APA for

pre-enforcement challenges to OPM’s rulemaking. See Whipple, 636 F. Supp. 2d at 69-71

(finding the plaintiff’s APA claims that OPM’s regulation was arbitrary, capricious, and contrary

to law were not precluded by the CSRA); see also Nat’l Treasury Employees Union v. Chertoff,

385 F. Supp. 2d 1, 23 (D.D.C. 2005), aff’d in part and rev’d and remanded on other grounds,

452 F.3d 839 (D.C. Cir. 2006) (finding the plaintiff’s APA challenge to OPM’s regulations was

not precluded by the CSRA); OCONUS, 144 F. Supp. 2d at 6-8 (explaining the plaintiff’s APA

challenge to the OPM’s draft regulation was proper and not precluded by the CSRA).




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       Defendants appear to acknowledge the availability of pre-enforcement review of OPM

rulemaking under the APA. See Defs.’ Mot., ECF No. 12, 9-11 (acknowledging the availability of

APA pre-enforcement review of OPM rulemaking but arguing that it is not applicable in this

case). And, none of the cases cited by Defendants would appear to limit this type of review.

Defendants rely primarily on four cases to argue that the CSRA precludes review of Plaintiff’s

APA claims. However, these four cases do not appear to have any impact on a district court’s

jurisdiction to conduct pre-enforcement review of OPM rulemaking.

       First, in Fornaro v. James, 416 F.3d 63 (D.C. Cir. 2005), the plaintiffs sought to use the

APA’s waiver of sovereign immunity to bring claims arguing that class members were entitled to

higher disability benefits. The plaintiffs sought an order requiring that OPM notify class

members of their entitlement and pay them higher benefits. 416 F.3d at 64. The D.C. Circuit

concluded that it lacked jurisdiction because the specific relief sought in court, a recalculation of

disability benefits for individual claimants, could also be sought through the CSRA. Id. at 68.

Here, Plaintiff does not seek a recalculation of supplemental annuity payments for individual

retirees. Instead, Plaintiff seeks a finding that Defendants’ 2016 supplemental annuity payment

policy is invalid and an injunction against applying it. Compl., ECF No. 1, Prayer for Relief.

Accordingly, Fornaro does not appear to mandate preclusion under the CSRA in this case.

       Second, in Elgin v. Department of Treasury, 567 U.S. 1 (2012), the United States

Supreme Court concluded that “the CSRA provides the exclusive avenue to judicial review when

a qualifying employee challenges an adverse employment action by arguing that a federal statute

is unconstitutional.” 567 U.S. at 5. Unlike in this case, the plaintiffs in Elgin did not raise claims

under the APA. Moreover, the plaintiffs in Elgin were challenging a discrete employment




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decision rather than any OPM rulemaking. As such, Elgin is not relevant to the Court’s present

analysis.

          Third, in American Federation of Government Employees, AFL-CIO v. Trump, 929 F.3d

748 (D.C. Cir. 2019) (AFGE II), the D.C. Circuit concluded that the plaintiffs’ constitutional

claims challenging the President’s executive orders were precluded by the CSRA. 929 F.3d at

755-61. Again, the Court is not convinced that AFGE II is relevant as to whether or not the Court

has jurisdiction to conduct pre-enforcement review of OPM rulemaking. While AFGE II

concerns preclusion under the CSRA, it does not concern the preclusion of APA claims.

Moreover, AFGE II contains no mention of prior D.C. Circuit cases expressly permitting pre-

enforcement review of OPM rulemaking. See Egger, 783 F.2d at 1117; Devine, 733 F.2d at 117

n.8. As such, at this time, the Court is not prepared to say that D.C. Circuit precedent permitting

APA review of OPM rulemaking was overruled by a case which did not even involve APA

claims.

          Finally, in American Federation of Government Employees, AFL-CIO v. Secretary of the

Air Force, 716 F.3d 633 (D.C. Cir. 2013) (AFGE I), the D.C. Circuit found that the CSRA

precluded review of several Air Force instructions. 716 F.3d at 637-40. However, while AFGE I

did involve the preclusion of APA claims, it did not involve a pre-enforcement challenge to

rulemaking. As such, the Court concludes that AFGE I does not appear to necessitate the

preclusion of Plaintiff’s APA claims in this case.

          Accordingly, it appears that Defendants have not presented any argument or precedent

implying that this Court is prohibited from engaging in pre-enforcement review of OPM

rulemaking. Instead, the parties’ dispute centers on whether or not the 2016 supplemental annuity

payment policy is an OPM rule for which pre-enforcement review is available under the APA.



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This dispute affects both of Defendants’ arguments in favor of dismissal for lack of jurisdiction.

First, if the 2016 supplemental annuity payment policy is not a rule, then pre-enforcement review

of OPM rulemaking is unlikely to be available through the APA. Without the availability of pre-

enforcement review of OPM rulemaking, preclusion under the CSRA is more likely. Second,

Defendants’ standing argument is largely derivative of their CSRA preclusion argument.

Defendants contend, in part, that Plaintiff does not have associational standing because “[n]o

individual member of FLEOA would have standing to pursue plaintiff’s claims in District Court

because of the claims preclusion” under the CSRA. Defs.’ Reply, ECF No. 18, 21. If an

individual retiree could not bring APA claims challenging the 2016 supplemental annuity

payment policy due to CSRA preclusion, then Plaintiff likely lacks standing to bring such claims.

As such, in order to resolve either of Defendants’ jurisdictional arguments, the Court must first

determine if the 2016 supplemental annuity payment policy is a rule capable of pre-enforcement

review under the APA. And, the resolution of this issue requires additional, targeted briefing by

the parties.

                                       IV. CONCLUSION

        For the reasons explained above, this Court’s jurisdiction to hear Plaintiff’s APA claims

likely turns on whether or not the 2016 supplemental annuity payment is subject to pre-

enforcement rulemaking review under the APA. Lacking adequate argument and briefing as to

this specific issue, the Court DENIES WITHOUT PREJDUICE Defendants’ Motion to Dismiss.

An appropriate Order setting out next steps accompanies this Memorandum Opinion.

        As is indicated in the accompanying Order, the parties have provided adequate briefing as

to the CSRA’s preclusion scheme and the parties’ jurisdictional and standing arguments.

Supplemental briefing should instead focus on details about the nature of the 2016 supplemental


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annuity payment policy, such as whether or not Defendants captured the new policy in writing in

any way. The Court further requires additional briefing as to whether or not Defendants were

permitted to re-interpret their obligations pursuant to a statute without engaging in a rulemaking

process. The parties should explain what indicia indicate whether this policy is the type of

statutory re-interpretation that does or does not require a rulemaking process. Additionally,

insofar as Plaintiff contends that the 2016 supplemental annuity payment policy should be

treated as a rule despite the lack of a rulemaking process, Plaintiff should cite cases in which

courts agreed to treat statutory reinterpretations as rules.

                                                           /s/
                                                        COLLEEN KOLLAR-KOTELLY
                                                        United States District Judge




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